Case 2:05-cr-20156-STA Document 24 Filed 07/20/05 Page 1 of 2 PagelD 37

lN THE uNiTED sTATEs DlsTRicT couRT F"’Ei““ *49/ E~C»

FoR THE WEsTERN oisTRicT oF TENNEssEE
wEsTERN DivisloN 95 JUL 29 AH |U= 05

 

UN|TED STATES OF AN|ER|CA

 

P|aintiff

VS.
CR. NO. 05-20156-D

JOHN lVlURRAY, JR.

Defendant.

 

ORDER ON CONT|NUANCE AND SPECiFYiNG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause is scheduled for a report date on Ju|y 21, 2005. Counse| for the
defendant filed a motion seeking a continuance of the August 1, 2005 trial date in order
to allow for additional preparation in the case.

The Court granted the motion and reset the trial date to September 6, 2005 with a

report date of Thursda!, August 25l 2005l at 9:00 a.m., in Courtroom 3 9th Floor of the
Federa| Building, Memphis, TN.

 

The period from August12. 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this fe day Of Ju|y, 2005.

 

 

This document entered on the docket shoe lllet
with Fiuis 55 and/or 32(b} FRCrP on j

   

UNITED sTATE DISTRIC COUR - WETERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
ease 2:05-CR-20156 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

